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To Whom it may concern,

I am writing this letter regarding Howard Adams. I have known Howard for over 28 years. I met Howard
in 1995 at the drop zone in Eljay, Georgia. From the moment we connected as skydiving partners I felt
safe jumping with him. Everyone liked him and he was the go to guy when it came to rigging their gear,
jumping with or implementing an ADD ( Automatic Deployment Device) which is a small piece of
equipment to deploy a reserve parachute that is intended to save your life.

Howard was the one everyone trusted their life with, not because it was his job, but because he made it
his passion to make sure everyone was safe with him. There were other riggers on the drop zone,
however everyone was willing to wait for Howard to look over their gear and by referral be the
instructor they jumped with.

 Howard truly cared about each student that he worked with. He went above and beyond to ensure the
safety and confidence of every student. During that time I was in Eljay, I can recall many times where
Howard risked his own safety as an AFF instructor to go after a student who was in trouble in the air.

Since the beginning of our friendship, I can not keep count of the times Howard has offered help to his
family, friends and neighbors. Whether it was moving, repairing a home, or even driving to another state
to help a friend who needed help repairing a roof.

Howard and his wife Lisa have been contributing to their community over the years. They have offered
services above and beyond his business of Caulking windows prior to a hurricane to boarding up homes
to help someone in need.

In closing, my experience and knowledge of Howard has always been respectful and takes other’s into
consideration.

Sincerely,

Mikki St. Germain
